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Attorneys for plaintiff,
Doctor’s Financial Network, Inc.
                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY


Doctor’s Financial Network, Inc., a   Civil Case No. 2:22-cv-02149
California corporation,
                                      PLAINTIFF DOCTOR’S FINANCIAL
               Plaintiff,             NETWORK, INC. AND THIRD-PARTY
                                      DEFENDANT CHARLES KRUGH’S
       v.                             NOTICE OF MOTION AND MOTION TO
                                      FILE UNDER SEAL
DrDisabilityQuotes.com, LLC, a New
Jersey limited liability company,

               Defendant.


DrDisabilityQuotes.com, LLC, a New
Jersey limited liability company,

       Counterclaimant and
       Third-Party Plaintiff

       v.

Doctor’s Financial Network, Inc., a
California corporation,

       Counterclaim Defendant;

and

Charles Krugh, an individual,

       Third-party Defendant.

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      Pursuant to Local Civ. Rule 5.3, Plaintiff Doctor’s Financial Network, Inc. and

Third-party Defendant Charles Krugh hereby move to conditionally file under seal

Exhibits (“Exhibits”) to the Declaration of Gordon E. Gray in opposition to

Defendant DrDisabilityQuotes.com, LLC’s Motion for Summary Judgment.

      The Exhibits contain, discuss, or otherwise include information that Defendant

DrDisabilityQuotes.com, LLC designated “Confidential,” and “Attorneys’ Eyes

Only,” pursuant to the Discovery Protective Order dated August 23, 2022

(“Protective Order”) (Dkt. # 25).

      This information purportedly constitutes protected Material as defined in

§3(A) of the Protective Order. The exhibits will be lodged with the Court and served

on Defendant to provide it with an opportunity to support its claim of confidentiality.

For this reason , Plaintiff Doctor’s Financial Network, Inc. and Third-party

Defendant Charles Krug respectfully requests that the Court conditionally seal the

exhibits.

      An Index of the Exhibits is provided as follows:




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Material                    Basis for    Clearly         Why a         Party in
                            Sealing      Defined         Less          Opposition
                                         and Serious     Restrictive   to
                                         Injury that     Alternative   Sealing, if
                                         Would           to the        any,
                                         Result if       Relief        and Basis
                                         the Relief is   Sought is
                                         Not Granted     Not
                                                         Available
Graham Rogers               Protective  Designated       Designated    None.
Deposition and Exhibits     Order (Dkt. by Non-          by Non-
                            #25)        moving party     moving
                                        pursuant to      party
                                        Protective       pursuant to
                                        Order            Protective
                                                         Order
Plaintiff’s Expert Report   Protective  Designated       Designated    None.
of David Nolte and          Order (Dkt. by Non-          by Non-
Exhibits                    #25)        moving party     moving
                                        pursuant to      party
                                        Protective       pursuant to
                                        Order            Protective
                                                         Order
Excerpts and Exhibits   Protective       Designated      Designated    None.
117-122 from Deposition Order (Dkt.      by Non-         by Non-
Transcript of Bob       #25)             moving party    moving
Bhayani (DDQ)                            pursuant to     party
                                         Protective      pursuant to
                                         Order           Protective
                                                         Order
Supplemental            Protective       Designated      Designated    None.
Interrogatory Response Order (Dkt.       by Non-         by Non-
No. 15 of               #25)             moving party    moving
DrDisabilityQuotes.com,                  pursuant to     party
LLC                                      Protective      pursuant to
                                         Order           Protective
                                                         Order



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                      Respectfully submitted,

                      Law Offices of Peter J. Lamont
Dated: June 7, 2024
                             /s/ Peter J. Lamont
                      Peter J. Lamont
                      191 Godwin Avenue, Suite 4
                      Wyckoff, NJ 07481
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                      Email: pl@pjlesq.com



                      Mandour & Associates, APC
Dated: June 7, 2024

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                             CERTIFICATE OF SERVICE
      The undersigned hereby certifies that on the below, copies of the foregoing
document was filed electronically via the Court’s CM/ECF system. Notice of
these filings will be sent to all attorneys of record by operation of the Court’s
Electronic Filing System.


                                 Law Offices of Peter J. Lamont
Dated: June 7, 2024
                                        /s/ Peter J. Lamont
                                 Peter J. Lamont
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                                 Wyckoff, NJ 07481
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                                 Attorneys for plaintiff and counterclaim-defendant,
                                 Doctor’s Financial Network, Inc. and third-party
                                 defendant Charles Krugh




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